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12                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
13                                 SAN FRANCISCO DIVISION
14 UNITED STATES OF AMERICA; STATES OF                  Case No.: 3:18-cv-03018-JCS
   CALIFORNIA, COLORADO, CONNECTICUT,
15 DELAWARE, FLORIDA, GEORGIA, HAWAII,
   ILLINOIS, INDIANA, IOWA, LOUISIANA,                  NOTICE OF APPEAL AND
16 MICHIGAN, MINNESOTA, MONTANA,                        REPRESENTATION STATEMENT
   NEVADA, NEW JERSEY, NEW MEXICO, NEW
17 YORK, NORTH CAROLINA, OKLAHOMA,
   RHODE ISLAND, TENNESSEE, TEXAS,                      Chief Magistrate Judge Joseph C. Spero
18 VERMONT, AND WASHINGTON; THE
   COMMONWEALTHS OF MASSACHUSETTS                       Phillip Burton Federal Building
19 AND VIRGINIA; AND THE DISTRICT OF                    Courtroom F, 15th Floor
   COLUMBIA,                                            450 Golden Gate Avenue
20                                                      San Francisco, CA 94102
   ex rel. ZACHARY SILBERSHER,
21                                                      Action Filed: April 25, 2018
                   Plaintiffs,
22
              v.
23
   ALLERGAN, INC., ALLERGAN USA, INC.,
24 ALLERGAN SALES, LLC, FOREST
   LABORATORIES HOLDINGS, LTD., ADAMAS
25 PHARMA, AND ADAMAS
   PHARMACEUTICALS, INC.,
26
                   Defendants.
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 1          Plaintiff-Relator Zachary Silbersher (“Relator”), on behalf of the United States of America and

 2 the Plaintiff States, hereby appeals to the United States Court of Appeals for the Ninth Circuit from

 3 the Order Granting Motions to Dismiss filed March 13, 2023 (ECF No. 194), the Amended Order

 4 Granting Motions to Dismiss filed March 20, 2023 (ECF No. 197), and the Judgment filed March 20,

 5 2023 (ECF No. 198).

 6 Dated: April 19, 2023
                                                  HERRERA KENNEDY LLP
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                                                  By: /s/ Nicomedes Sy Herrera
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                                    REPRESENTATION STATEMENT
 1

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 3          Pursuant to Rule 12(b) of the Federal Rules of Appellate Procedure and Circuit Rules 3-2 and

 4 12-2, Plaintiff-Relator submits this Representation Statement. The following list identifies all parties

 5 to the action and their respective counsel by name, firm, address, telephone number, and email.

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